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U.S. Department of Justice

Matthew M. Graves
United States Attorney

District of Columbia

Patrick Henry Building
601 D Street, N.W.
Washington DC, 20530

October 17, 2024

Mr. Dwight Crawley
vadclawyer(@gmail.com

Re: United States v. Juwon Anderson
Criminal Case No. 23-CR-0452-2 (ABJ)

Dear Mr. Crawley:

This letter sets forth the full and complete plea offer to your client, Juwon Anderson
(hereinafter referred to as “your client” or “defendant”), from the Office of the United States
Attorney for the District of Columbia (hereinafter also referred to as “the Government” or “this
Office”). This plea offer expires on November 15, 2024. If your client accepts the terms and
conditions of this of fer, pleasehave your clientexecute this documentin the space provided below.
Upon receipt of the executed document, this letter will become the Plea Agreement (hereinafter
referred to as “this Agreement”). The terms of the offer are as follows:

1. Charges and Statutory Penalties

Your clientagrees to plead guilty to Count 1 in the Superseding Indictment, Conspiracy to
Commit Fireanms Trafficking in violation of 18. U.S.C. § 933(a)(1),(3).

Your client understands that a violation of 18 U.S.C. § 933(a)(1),(3) carries a maximum
sentence of 15 years of imprisonment; a fine of $250,000 pursuant to 18 U.S.C. § 3571(b)(3); a
term of supervised release of not more than three years pursuant to 18 U.S.C. 3583(b)(2) and an
obligation to pay any applicable interest or penalties on fines and restitution not timely made.

In addition, your client agrees to pay a special assessment of $100 perfelony conviction to

the Clerk of the United States District Court for the District of Columbia. Your client also

understands that, pursuant to 18 U.S.C. § 3572 and § 5E1.2 of the United States Sentencing

Commission, Guidelines Manual (2023) (hereinafter “Sentencing Guidelines,” “Guidelines,” or

“U.S.S.G.”), the Court may also impose a fine that is sufficient to pay the federal government the
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costs of any imprisonment, term of supervised release, and period of probation. Further, your
client understands that, if your client has two or more convictions fora crime of violence or felony
drug offense, your client may be subject to the substantially higher penalties provided for in the
career-offender statutes and provisions of the Sentencing Guidelines.

2. Wiring

Your client understands and acknowledges that this Agreement and any plea of guilty which
your client may enter pursuant to this Agreement are contingent upon the entry of a guilty plea by
Co-Defendants Niquan Odumn, Cy’ Juan Hemsley, Tyjuan McNeal, and Vincent Alston in this
case. If any of these co-defendants fails to enter a guilty plea, this Agreement and any proceedings
pursuant to this Agreement may be withdrawn or voided at the option of this Office.

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3, Factual Stipulations

Yourclient agrees that the attached “Statement of Offense” fairly and accurately describes
your client’s actions and involvement in the offense(s) to which your client is pleading guilty.
Please have your client sign and return the Statement of Offense as a written proffer of evidence,
along with this Agreement.

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4, Additional Charges

In consideration of your client’s guilty plea to the above offense, your client will not be
further prosecuted criminally by this Office for the conduct set forth in the attached Statement of
Offense. The Government will request that the Court dismiss the remaining count(s) of the
Indictment in this case at the time of sentencing. Your client agrees and acknowledges that the
charge(s) to be dismissed at the time of sentencing were based in fact.

5. Sentencing Guidelines Analvsis

Your client understands that the sentence in this case will be determined by the Court,
pursuantto the factors set forth in 18 U.S.C. § 3553(a), includinga consideration of the Sentencing
Guidelines. Pursuant to Federal Rule of Criminal Procedure 1 1(c)(1)(B), and to assist the Court
in determining the appropriate sentence, the parties agree to the following:

A. Estimated Offense Level Under the Guidelines
The parties agree that the following Sentencing Guidelines sections apply:

U.S.S.G. § 2K2.1(a)(4) Base Offense Level 20
U.S.S.G. § 2K2.1(b)U1)(C) Number of Guns 25-99 guns +6
U.S.S.G. § 2K2.1(b)(4)(B)(i) ~Obliterated Serial Number +4 but can’t exceed 29 i
U.S.S.G. § 2K2.1(b)(4) Cannot Exceed 29 through (b)(4) —-1 E
U.S.S.G. § 2K2.1(b)(5)(C) Trafficking Guns +5
U.S.S.G. § 2K2.1(b)(6)(B) Burglary Offense +4

Total Offense Level 38

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Acceptance of Responsibility

The Government agrees that a 2-level reduction will be appropriate, pursuant to U.S.S.G.

§ 3El.1, provided that your client clearly demonstrates acceptance of responsibility, to the
satisfaction of the Government, through your client’s allocution, adherence to every provision of
this Agreement, and conduct between entry of the plea and imposition of sentence. Furthermore,
assuming your client has accepted responsibility as described in the previous sentence, the
Government agrees that an additional 1 -level reduction will be appropriate, pursuant to U.S.S.G.
§ 3E1.1(b), because your client has assisted authorities by providing timely notice of your client’s
intention to enter a plea of guilty, thereby permitting the Government to avoid preparing for trial
and permitting the Court to allocate its resources efficiently.

Nothing in this Agreement limits the right of the Government to seek denial of the
adjustment for acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1, and/or imposition ofan
adjustment for obstruction of justice, pursuant to U.S.S.G. § 3C1.1, regardless of any agreement
set forth above, should your client move to withdraw your client’s guilty pleaafter it is entered, or
should it be determined by the Government that your client has either (a) engaged in conduct,
unknown to the Government at the time of the signing of this Agreement, that constitutes
obstruction of justice, or (b) engaged in additional criminal conduct after signing this Agreement.

In accordance with the above, if the Court agrees with government and concludes that
U.S.S.G. § 2K2(b)(5)(C) applies, the Estimated Offense Level will be at least 35.

B. Estimated Criminal History Category

Based upon the information now available to this Office, your client has at least the
following criminal convictions:

Convictions Jurisdiction Case No. |Date & Sentence U.S.S.G.
Points
Unauthorized [Prince George’s |C-16-CR-23-|Disposition on October 25, [2 points
Removal of a |County, Marylandj001492 2023 where defendant was |§4A1.1(b)

Motor Vehicle; sentenced to 6 months with 18
Loaded Handgun] months suspended.
in Vehicle

Simple Assault [Washington, DC |2018DEL888jDisposition on April 19, 2019)1 point
Respondent commitment §4A1.2(d)(2)(b)
ended on April 19, 2021.
Juvenile committed to DYRS
for 2 years.

Unlawful Entry 7Washington, DC |h9) gnriggs Disposition on April 19, 2019]1 point

Private Property Respondent commitment §4A1.2(d)(2)(b)
ended on April 19, 2021.
Juvenile committed to DYRS
for 2 years.

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Accordingly, your client is estimated to have 4 criminal history points and your client’s
Criminal History Category is estimated to be III (the “Estimated Criminal History Category”). Your
client acknowledges that after the pre-sentence investigation by the United States Probation Office, a
different conclusion regarding your client’s criminal convictions and/or criminal history points may
be reached and your client’s criminal history points may increase or decrease.

C. Adjustment Based on U.S.S.G. § 4C1.1

The parties agree that your client is not eligible for a zero-point offender adjustment
pursuantto U.S.S.G. § 4C1.1(a)(1) because yourclient received criminal history points as set forth
above.

D. Estimated Guidelines Range

Based upon the Estimated Offense Level and the Estimated Criminal History Category set
forth above, your client’s estimated Sentencing Guidelines range is 210 months to 262 months
(the “Estimated Guidelines Range”). However, because the statutory maximum is 15 years, the
range is capped at 180 months or 15 years. In addition, the parties agree that, pursuant to
U.S.S.G. § 5E1.2, should the Court impose a fine, at Guidelines level 35, the estimated
applicable fine range is $40,000 to $400,000. Your client reserves the right to ask the Court not
to impose any applicable fine.

The parties agree that, solely forthe purposes of calculating the applicable range under the
Sentencing Guidelines, neither a downward nor upward departure from the Estimated Guidelines
Range set forth above is warranted. Except as provided for in the “Adjustment Pursuant to
U.S.S.G. § 4C1.1” section above and “Reservation of Allocution” section below, the parties also
agree that neither party will seek any offense-level calculation different from the Estimated
Offense Level calculated above. However, the parties are free to argue for a Criminal History
Category different from that estimated above in subsection B.

Your client understands and acknowledges that the Estimated Guidelines Range calculated
above is not binding on the Probation Office or the Court. Should the Court or Probation Office
determine that a guidelines range different from the Estimated Guidelines Range is applicable, or
that your client is not eligible for an adjustment pursuant to U.S.S.G. § 4C1.1, that will not be a
basis for withdrawal or recission of this Agreement by either party.

Your client understands and acknowledges that the terms of this section apply only to
conduct that occurred before the execution of this Agreement. Should your client commit any
conduct after the execution of this Agreement that would form the basis for an increase in your
client’s base offense level or justify an upward departure (examples of which include, but are not
limited to, obstruction of justice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the probation officer, or the
Court), the Government is free under this Agreement to seek an increase in the base offense level

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based on that post-agreement conduct.

6. Agreement as to Sentencing Allocution

The parties further agree that a sentence within the Estimated Guidelines Range would
constitute a reasonable sentencein lightof all of the factors set forth in 18 U.S.C. § 3553(a), should
such a sentence be subject to appellate review notwithstanding the appeal waiver provided below.
Nevertheless, your client reserves the right to seek a sentence below the Estimated Guidelines
Range based upon factors to be considered in imposing a sentence pursuant to 18 U.S.C. § 3553(a).
In addition, the government will cap its allocution to a sentence in the range of 96 months to

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7. Reservation of Allocution

The Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness of your client’s misconduct, including
any misconduct not described in the charges to which your client is pleading guilty, to inform the
presentence report writer and the Court of any relevant facts, to dispute any factual inaccuracies
in the presentencereport, and to contestany mattersnot provided for in this Agreement. The parties
also reserve the right to address the correctness of any Sentencing Guidelines calculations
determined by the presentence report writer or the court, even if those calculations differ from the
Estimated Guidelines Range calculated herein. In the eventthat the Courtor the presentence report
writer considers any Sentencing Guidelines adjustments, departures, or calculations different from
those agreed to and/or estimated in this Agreement, or contemplates a sentence outside the
Guidelines range based upon the general sentencing factors listed in 18 U.S.C. § 3553(a), the
parties reserve the right to answer any related inquiries from the Court or the presentence report
writer and to allocute for a sentence within the Guidelines range, as ultimately determined by the
Court, even if the Guidelines range ultimately determined by the Court is different from the
Estimated Guidelines Range calculated herein.

In addition, if in this Agreement the parties have agreed to recommend or refrain from
recommending to the Court a particular resolution of any sentencing issue, the parties reserve the
right to fullallocution in any post-sentence litigation. The parties retain the fullright of allocution
in connection with any post-sentence motion which may be filed in this matter and/or any
proceeding(s) before the Bureau of Prisons. In addition, your client acknowledges that the
Government is not obligated and does not intend to file any post-sentence downward departure
motion in this case pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.

8. Court Not Bound by this Agreement or the Sentencing Guidelines

Your client understands that the sentence in this case will be imposed in accordance with
18 U.S.C. § 3553(a), upon consideration of the Sentencing Guidelines. Your client further
understands that the sentence to be imposed is a matter solely within the discretion of the Court.
Your client acknowledges that the Court is not obligated to follow any recommendation of the

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Government at the time of sentencing. Your client understands that neither the Government’s
recommendation nor the Sentencing Guidelines are binding on the Court.

Your client acknowledges that your client’s entry of a guilty plea to the charged offense(s)
authorizes the Courtto impose any sentence, up to and including the statutory maximum sentence,
which may be greater than the applicable Guidelines range. The Government cannot, and does
not, make any promise or representation as to what sentence your client will receive. Moreover,
it is understood that your client will have no right to withdraw your client’s plea of guilty should
the Court impose a sentence that is outside the Guidelines range or if the Courtdoes not follow the
Government’s sentencing recommendation. The Government and your client will be bound by
this Agreement, regardless of the sentence imposed by the Court. Any effort by your client to
withdraw the guilty plea because of the length of the sentence shall constitute a breach of this
Agreement.

9. Conditions of Release

Your client agrees not to object to the Government’s recommendation to the Court at the
time of the plea of guilty in this case that your client be detained without bond pending your client’s
sentencing in this case, pursuant to 18 U.S.C. § 3143.

10. Waivers
A. Venue

Your client waives any challenge to venue in the District of Columbia.
B. Statute of Limitations

Your client agrees that, should the conviction following your client’s plea of guilty
pursuant to this Agreement be vacated for any reason, any prosecution, based on the conduct set
forth in the attached Statement of Offense, that is not time-barred by the applicable statute of
limitations on the date of the signing of this Agreement (including any counts thatthe Government
has agreed not to prosecute or to dismiss at sentencing pursuant to this Agreement)may be
commenced or reinstated against your client, notwithstanding the expiration of the statute of
limitations between the signing of this Agreement and the commencementor reinstatement of such
prosecution. It is the intent of this Agreement to waive all defenses based on the statute of
limitations with respectto any prosecution of conduct set forth in the attached Statement of Offense
that is not time-barred on the date that this Agreement is signed.

C. Trial Rights
Your client understands that by pleading guilty in this case your client agrees to waive

certain rights afforded by the Constitution of the United States and/or by statute or rule. Your
client agrees to forego the right to any further discovery or disclosures of information not already
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provided at the time of the entry of your client’s guilty plea. Your client also agrees to waive,
among other rights the right to plead not guilty, and the right to a jury trial. If there were a jury
trial, your client would have the right to be represented by counsel, to confront and cross-examine
witnesses against your client, to challenge the admissibility of evidence offered against your client,
to compel witnesses to appear for the purpose of testifying and presenting other evidence on your
client’s behalf, and to choose whether to testify. If there were a jury trial and yourclient chose not
to testify at that trial, your client would have the right to have the jury instructed that your client’s
failure to testify could not be held against your client. Your client would further have the right to
have the jury instructed that your client is presumed innocent until proven guilty, and that the
burden would be on the United States to prove your client’s guilt beyonda reasonable doubt. If
your client were found guilty after a trial, your client would have the right to appeal your client’s
conviction. Your client understands that the Fifth Amendment to the Constitution of the United
States protects your client from the use of self-incriminating statements in a criminal prosecution.
By enteringa plea of guilty, yourclientknowingly and voluntarily waivesor gives up your client’s
right against self-incrimination. Your client acknowledges discussing with you Rule 11(f) of the
Federal Rules of Criminal Procedure and Rule 410 of the Federal Rules of Evidence, which
ordinarily limit the admissibility of statements made by a defendant in the course of plea
discussions or plea proceedings if a guilty plea is later withdrawn. Your client knowingly and
voluntarily waives the rights that arise under these rules in the event your client withdraws your
client’s guilty plea or withdraws from this Agreement after signing it.

Yourclient also agrees to waive all constitutional and statutory rights to a speedy sentence
and agrees that the plea of guilty pursuantto this Agreement will be entered ata time decided upon
by the parties with the concurrence of the Court. Your client understands that the date for
sentencing will be set by the Court.

D. Appeal Rights

Your client agrees to waive, insofar as such waiver is permitted by law, the right to appeal
the conviction in this case onany basis, including but not limited to claim(s) that (1) the statute(s)
to which your client is pleading guilty is unconstitutional, and (2) the admitted conduct does not
fall within the scope of the statute(s). Your client understands that federal law, specifically 18
U.S.C. § 3742, affords defendants the right to appeal their sentences in certain circumstances.
Your client also agrees to waive the right to appeal the sentence in this case, including but not
limited to any term of imprisonment, fine, forfeiture, award of restitution, term or condition of
supervised release, authority of the Court to set conditions ofrelease, and themanner in which the
sentence was determined, except to the extent the Court sentences your client above the statutory
maximum or guidelines range determined by the Court. In agreeing to this waiver, your client is
aware that your client’s sentence has yet to be determined by the Court. Realizing the uncertainty
in estimating what sentence the Court ultimately will impose, your client knowingly and willingly
waives your client’s right to appeal the sentence, to the extent noted above, in exchange for the
concessions made by the Government in this Agreement. Notwithstanding the above agreement
to waive the right to appeal the conviction and sentence, your client retains the right to appeal on
the basis of ineffective assistance of counsel, but not to raise on appeal other issues regarding the
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conviction or sentence.
E. Collateral Attack

Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or otherwise attempt to modify or change the sentence or the manner in
which it was determined in any collateral attack, including, but not limited to, a motion brought
under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the extent such a
motion is based on newly discovered evidence or on a claim that your client received ineffective
assistance of counsel. Your client reserves the right to file a motion brought under 18 U.S.C.

§ 3582(c).

11. Use of Self-Incriminating Information

The Government and your client agree, in accordance with U.S.S.G. § 1B1.8, that the
Government will be free to use against your client for any purpose at the sentencing in this case or
in any related criminal or civil proceedings, any self-incriminating information provided by your
client pursuant to this Agreement or during the course of debriefings conducted in anticipation of
this Agreement, regardless of whether those debriefings were previously covered by an “off the
record” agreement by the parties.

12. Restitution

Yourclient understands thatthe Courthas an obligation to determine whether, and in what
amount, mandatory restitution applies in this case under 18 U.S.C. § 3663A at the time of
sentencing.

Payments of restitution shall be made to the Clerk of the Court. In order to facilitate the
collection of financial obligations to be imposed in connection with this prosecution, your client
agrees to disclose fully all assets in which your client has any interest or over which your client
exercises control, directly or indirectly, including those held by a spouse, nominee or other third
party. Your client agrees to submit a completed financial statement on a standard financial
disclosure form which has been provided to you with this Agreement to the Financial Litigation
Unit of the United States Attorney’s Office, as it directs.

If you do not receive the disclosure form, your client agrees to request one from
usadc.flpdocs.gov (usade-flpdocs@usa.doj.gov). Your client will complete and electronically
provide the standard financial disclosure form to usadc.flpdocs.gov (usadc-flpdocs@usa.doj.gov)
30 days following the plea hearing, with a copy to undersigned counsel. Your client agrees to be
contacted by the Financial Litigation Unitof the United States Attorney’s Office, through defense
counsel, to complete a financial statement. Upon review, if there are any follow-up questions,
your client agrees to cooperate with the Financial Litigation Unit. Your client promises that the
financial statement and disclosures will be complete, accurate and truthful, and understands that
any willful falsehood onthe financial statement couldbe prosecutedasa separate crime punishable

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under 18 U.S.C. § 1001, which carries an additional five years’ incarceration and a fine.

Your client expressly authorizes the United States Attorney’s Office to obtain a credit
report on your client in order to evaluate your client’s ability to satisfy any financial obligations
imposed by the Court or agreed to herein.

Your client understands and agrees that the restitution or fines imposed by the Court will
be due and payable immediately and subject to immediate enforcement by the United States. If
the Court imposes a schedule of payments, your client understands that the schedule of payments
is merely a minimum schedule of payments and will not be the only method, nor a limitation on
the methods, available to the United States to enforce the criminal judgment, including without
limitation by administrative offset. If your client is sentenced to a term of imprisonment by the
Court, your client agrees to participate in the Bureau of Prisons’ Inmate Financial Responsibility
Program, regardless of whether the Court specifically imposes a schedule of payments.

Your client certifies that yourclient has made no transfer of assets in contemplation of this
prosecution for the purpose of evading or defeating financial obligations that are created by this
Agreement and/or that may be imposed by the Court. In addition, your client promises to make
no such transfers in the future until your client has fulfilled the financial obligations under this
Agreement.

13. Forfeiture

The government and your client hereby agree that the following items seized in this case
on December 13 2023 and December 15‘, 2023 and currently in the custody of the Bureau of
Alcohol, Tobacco and Firearms were properly seized and were involved in or used in violation of
federal law by your client:

* Hammerli, model TAC R1, .22 LR caliber rifle, SN: HA042027
* Mossberg, model 590 Nightstick, 12-Gauge pistol, SN: V1658733

* Kel-Tec, model SU-22C, .22 LR caliber rifle, SN: V2433
* Smith & Wesson, model M&P 15, .22 LR caliber rifle, SN:
LBH2830
¢ Smith & Wesson. model M&P22 Compact, .22
caliber pistol, SN: HJT2777
* Mossberg, model 590, 12-Gauge shotgun, SN: V1679570
* H&K, model 416, .22 LR caliber rifle, SN: HB075380
¢ Kahr Arms, model CT9, 9mm pistol, SN: G027855
¢ Smith & Wesson, model M&P, 9 mm pistol, SN: MRN6088
* Kel-Tec, model sub-2000, 9mm rifle, SN: FHFD98
* a Ruger, model 57, .57 caliber pistol, SN 643-95716
¢ Smith and Wesson M&P, 380 shield, SN: NMX0352
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* Glock 47, 9mm, SN: BZLL423

e Smith and Wesson SN: NMX0352
* Glock 47, SN: BZLL423

Yourclientagrees that these items are subject to seizure and forfeiture by the United States,
and that no defense exists to the seizure and forfeiture of this property by the United States. As
such, your client hereby relinquished all claim, title, and interest in the above-referenced property
to the United States and agrees not to oppose any civil, administrative, or judicial forfeiture of this
property. Your client knowingly and voluntarily waives any right to timely notice provided for in
18 U.S.C. 983. Your client agrees that the Government may use this waiver and consent in any
administrative or judicial forfeiture proceeding, whether criminal or civil, state, local or federal.
If your client already has filed a claim to any of this property in any forfeiture process, your client
hereby agrees to withdraw it. Your client also agrees not to file a claim to any of this property in
any future forfeiture proceedings of whatever type. In the event that the law enforcement agency
having custody of the property decides not to pursue forfeiture of any of the seized property, your
client hereby abandons any interest your clienthas in such property and consents to its destruction
by, and/or abandonmentto, the law enforcementagency. Your clienthereby waives any right your
client has to transfer the firearm, magazine, and ammunition to a third party.

14. Breach of Agreement

Your client understands and agrees that, if after entering this Agreement, your client fails
specifically to perform or to fulfill completely each and every one of your client’s obligations
under this Agreement, or engages in any criminal activity prior to sentencing, your client will have
breached this Agreement. In the event of sucha breach: (a) the Government will be free from its
obligations under this Agreement; (b) your client will not have the right to withdraw the guilty
plea; (c) your client will be fully subject to criminal prosecution for any other crimes, including
perjury and obstruction of justice; and (d) the Government will be free to use against your client,
directly and indirectly, in any criminal or civil proceeding, all statements made by your client and
any of the information or materials provided by your client, including such statements, information
and materials provided pursuant to this Agreement or during the course of any debriefings
conducted in anticipation of, or after entry of, this Agreement, whether or not the debriefings were
previously characterized as “off-the-record” debriefings, and including your client’s statements
made during proceedings before the Court pursuant to Rule 11 of the Federal Rules of Criminal
Procedure.

Your client understands andagrees thatthe Government shall be requiredto prove a breach
of this Agreement only by a preponderance of the evidence, except where such breach is based on
a violation of federal, state, or local criminal law, which the Government need prove only by
probable cause in order to establish a breach of this Agreement.

Nothing in this Agreement shall be construed to permit your client to commit perjury, to
make false statements or declarations, to obstructjustice, orto protectyour client from prosecution

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forany crimes not included within this Agreement orcommitted by your client afterthe execution
of this Agreement. Your client understands and agrees that the Government reserves the right to
prosecute your client for any such offenses. Your client further understands that any perjury, false
statements or declarations, or obstruction of justice relating to your client’s obligations under this
Agreement shall constitute a breach of this Agreement. In the event of such a breach, your client
will not be allowed to withdraw your client’s guilty plea.

15. Complete Agreement

No agreements, promises, understandings, or representations have been made by the parties
or their counsel other than those contained in writing herein, nor will any such agreements,
promises, understandings, or representations be made unless committed to writing and signed by
your client, defense counsel, and an Assistant United States Attorney for the District of Columbia.

Your client further understands that this Agreement is binding only upon the Criminal and
Superior Court Divisions of the United States Attorney’s Office forthe District of Columbia. This
Agreement does not bind the Civil Division of this Office or any other United States Attorney’s
Office, nor does it bind any other state, local, or federal prosecutor. It also does not bar or
compromise any civil, tax, or administrative claim pending or that may be made against your client.

If the foregoing terms and conditions are satisfactory, your client may so indicate by

signing this Agreement and the Statement of Offense, and returning both to me no later than
November 15, 2024.

Sincerely yours,

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Matthew M. Graves
United States Attorney

By: /s _Shehzad Akhtar
Shehzad Akhtar
Assistant United States Attorney

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DEFENDANT’S ACCEPTANCE

I have read every page of this Agreement and have discussed it with my attorney, Dwight
Crawley. I fully understand this Agreement and agree to it without reservation. I do this
voluntarily and of my own free will, intending to be legally bound. No threats have been made to
me nor am I under the influence of anything that could impede my ability to understand this
Agreement fully. Iam pleading guilty because I am in fact guilty of the offense(s) identified in
this Agreement.

I reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth in
this Agreement. I am satisfied with the legal services provided by my attorney in connection with
this Agreement and matters related to it.

Date:_2/2] /1< dent
} Juwon Anderson
Defendant

ATTORNEY’S ACKNOWLEDGMENT

I have read every page of this Agreement, reviewed this Agreement with my client, Juwon
Anderson, and fully discussed the provisions of this Agreement with my client. These pages
accurately and completely set forth the entire Agreement. I concur in my client’s desire to plead
guilty as set forth in this Agreement.

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Dwight Crawley
Attorney for Defendant
